                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                                Plaintiff,             )
                                                       )
          vs.                                          )       No. 08-03091-04-06-CR-S-DGK
                                                       )
YVONNA BAYS,                                           )
MARK E. FITZGERALD, and                                )
NANCE R. FITZGERALD,                                   )
                                                       )
                                Defendants.            )


                                               ORDER


          At the pretrial conference before the United States magistrate judge, counsel for

defendant Nance Fitzgerald submitted what she characterized as oral Motions to Dismiss and for

Contempt of Court. A search of the records in this case reveals no support for allegations of

wilful failure to comply with court orders or wilful violation of discovery obligations sufficient

to merit the extreme remedy requested. It is therefore

          ORDERED that the Motion to Dismiss and the Motion for Contempt be, and are hereby,

denied.

                                                       /s/Greg Kays
                                                       GREG KAYS
                                                       United States District Judge

Date: 6/17/2011




       Case 6:08-cr-03091-DGK            Document 203        Filed 06/17/11      Page 1 of 1
